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              EXHIBIT D
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                                                                                                       US011153472B2


( 12 ) Konicek
       United States Patent                                                      ( 10) Patent No .: US 11,153,472 B2
                                                                                 (45 ) Date of Patent :  * Oct . 19 , 2021

( 54 ) AUTOMATIC UPLOAD OF PICTURES FROM                                    ( 56 )                     References Cited
       A CAMERA
                                                                                                U.S. PATENT DOCUMENTS
( 71 ) Applicant: Cutting Edge Vision LLC , Scottsdale ,                             2,950,971 A         8/1960 George
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                                                                                                            (Continued )
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                                                                            AU
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( * ) Notice: Subject to any disclaimer, the term of this                                                   ( Continued )
                  patent is extended or adjusted under 35
                  U.S.C. 154 ( b ) by 0 days.                                                     OTHER PUBLICATIONS
                  This patent is subject to a terminal dis                  Machine English Translation of JP H07-84302 to Kawamura .
                   claimer .
                                                                                                     ( Continued )
( 21 ) Appl. No .: 16 /663,742                                              Primary Examiner Rodney E Fuller
(22) Filed :       Oct. 25 , 2019                                           (74 ) Attorney , Agent, or Firm -Law Offices of Lisa &
                                                                            Lesko , LLC ; Justin Lesko , Esq .
( 65 )               Prior Publication Data                                 (57 )                           ABSTRACT
       US 2020/0068116 A1               Feb. 27 , 2020                      A system and method is disclosed for enabling user friendly
                                                                            interaction with a camera system . Specifically, the inventive
                                                                            system and method has several aspects to improve the
               Related U.S. Application Data                                interaction with a camera system , including voice recogni
( 60 ) Continuation of application No. 14/ 614,515 , filed on               tion , gaze tracking, touch sensitive inputs and others. The
       Feb. 5 , 2015 , now abandoned, which is a continuation
                                              a
                                                                            voice recognition unit is operable for , among other things,
                          (Continued )
                                                                            receiving multiple different voice commands, recognizing
                                                                            the vocal commands, associating the different voice com
(51 ) Int. Ci.                                                              mands to one camera command and controlling at least some
                                                                            aspect of the digital camera operation in response to these
       H04N 5/232                   ( 2006.01 )                             voice commands . The gaze tracking unit is operable for,
       GO3B 17/02                   ( 2021.01 )                             among other things , determining the location on the view
                         (Continued )                                       finder image that the user is gazing upon . One aspect of the
( 52 ) U.S. Cl .                                                            touch sensitive inputs provides that the touch sensitive pad
       CPC          H04N 5/23203 (2013.01 ) ; G03B 13/02                    is mouse - like and is operable for, among other things,
                        ( 2013.01 ) ; G03B 17/02 ( 2013.01 ) ;              receiving user touch inputs to control at least some aspect of
                      ( Continued )                                         the camera operation. Another aspect of the disclosed inven
                                                                            tion provides for gesture recognition to be used to interface
( 58 ) Field of Classification Search                                       with and control the camera system .
       USPC                                          396/56
       See application file for complete search history.                                        8 Claims , 8 Drawing Sheets
                                                                                                 46c              PICTURE
                                                                                                                  HOSTING
                                                                            CAMERA                                  SITE
                                                                                              - 16 CELLULAR
                                          SEL       RECOGNITION                                                         46d
                                                                                                   INTERFACE
                                                                                                                 -46b
                                                                                      ANDER
                                                                       57
                               68
                                                                                                   CAMERA
                                     FINDER
                                    SENSORS         VIEW FINDER
                                                   USE DETECTOR
                                                                              CONTROLLER
                                                     DETECIOR
                                                                       60
                                                     TOUCH PAD
                                                       DEVICE
                                                                       52             STORAGE               46
                                                                                                    CELL
                                                                                                   PHONE
                                                                                                   DIALER
                                                         REMOTE
                                                                            DISPLAY                            46a
                                                         SENSOR
                                                                  66
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                                   REAR VIEW
                                                                     12a

                                     O
                    16

      100
            #
                                                            -12b
                                                        10b


                              FIG . 1A
Case 6:24-cv-00270-AM-DTG     Document 44-4    Filed 03/20/25   Page 18 of 33


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    O                                     2Q
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                                                        Mina




                        FRONT VIEW

                            FIG . 1B
Case 6:24-cv-00270-AM-DTG     Document 44-4           Filed 03/20/25       Page 19 of 33


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                  20
  10a
   Jarmo                           24
                                                                          FRONT MIC




                         28                -32
                                   I                        36
                                                                     FRONT/REAR

                                                 34
                     26
                              30
  106-7            22
                                                   REAR MIC

                                                       38
                                                                 0    1



                                                              TO VOICE
                                                            RECOGNITION
                                                                UNIT


                              FIG . 2
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                       46d
   PICTURE HOSTING SITE 46b                       50               48                                               46                                46a        3
                                                                                                                                                                 .
                                                                                                                                                                 FIG

     // CELUAR INTERFAC OTHER CAMERA
   46C
                      16
                                                                                        MOT R ZO M                             CEL PHONE DIALER

                                         FINDER
                                                                                CAMERA CONTRLE   40                  STORAGE MEDIA                               A2



          CAMER C D
                                                  57        58                                             60       62
                                                                                                                                                                 66




                 59
                       RECOGNIT   UNIT                 TGRACZKER DUETSCEOR DEVICE
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     FIG . 4




                                76



              78
                                    O0              SHUTTER BUTTON
                                                     OR TOUCH PAD
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                        wearitetsmisistitze*m* * * * * * * * * * mit heimar
                                                    FIG . 5A
Case 6:24-cv-00270-AM-DTG                 Document 44-4      Filed 03/20/25   Page 23 of 33


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    APP/PHYAMAHAP-45MMA #Hair MH- NAMMY


                God THAN AHAHAYMENTIANGHAMAMAMAHAHAMAHANTH
                                            FIG . 5B
Case 6:24-cv-00270-AM-DTG                                            Document 44-4              Filed 03/20/25   Page 24 of 33


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                                                                      wimpegniteettideetmil e
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                                                                     FIG . 5C
  Case 6:24-cv-00270-AM-DTG                          Document 44-4                Filed 03/20/25              Page 25 of 33


                                                    US 11,153,472 B2
                               1                                                                   2
   AUTOMATIC UPLOAD OF PICTURES FROM                                One such problem is that in self portrait mode , the camera
                        A CAMERA                                    may snap the picture while the user is uttering the command.
                                                                    Another defect is that the microphone coupled to the voice
           CROSS REFERENCE TO RELATED                               recognition   unit is usually mounted on the back of the
                                                                  5 camera . This placement is non - optimal when the user is in
                         APPLICATIONS
                                                                    front of the camera as when taking a self portrait. Still
   This application is a continuation of application Ser. No. another problem with prior art voice activated cameras is
14 / 614,515 , filed Feb. 5 , 2015 , which claims the benefit of that they associate one vocalization or utterance to one
application Ser. No. 14 / 539,687 ( now issued U.S. Pat . No. camera operation . Thus, the user must remember which
9,485,403), filed Nov. 12 , 2014 , which claims the benefit of 10 command word is to be spoken for which camera operation .
application Ser. No. 14 /495,976 ( now issued U.S. Pat . No. This is overly constraining, unnatural, and significantly
8,917,982 ) , filed Sep. 25 , 2014 , which claims the benefit of
application Ser. No. 14/ 453,511 ( now issued U.S. Pat . No. reduces   One
                                                                             the utility of adding voice recognition to the camera .
                                                                            prior art implementation of voice recognition allows
8,923,692 ) , filed Aug. 6 , 2014 , which claims the benefit of
application   Ser. No. 14/315,544 ( now issued U.S.Pat. No. 15 for      menu   driven  prompts to help guide the user through the
8,897,634 ) , filed Jun . 26 , 2014 , which claims the benefit of task of remembering which command to speak for which
application Ser. No. 14 /203,129 (now issued U.S. Pat . No. camera function. This method however requires that the user
8,818,182 ), filed Mar. 10 , 2014 , which claims the benefit of be looking at the camera's dedicated LCD display for the
application Ser. No. 13 /717,681 (now issued U.S. Pat . No. menu . One aspect of the present invention provides for the
8,831,418 ) , filed Dec. 17 , 2012 , which claims the benefit of 20 menus to be displayed in the electronic view finder of the
                          9

application Ser. No. 13 /087,650 ( now issued U.S. Pat . No. camera and be manipulated with both voice and gaze .
8,467,672 ) , filed Apr. 15 , 2011 , which claims the benefit of Another aspect of the present invention incorporates touch
application Ser. No. 12 /710,066 ( now issued U.S. Pat . No. pad technology which is typically used in laptop computers,
7,933,508 ) , filed Feb. 22 , 2010 , which claims the benefit of such technology being well know in the art, as the camera
application Ser. No. 11 / 163,391 ( now issued U.S. Pat . No. 25 input device for at least some functions.
7,697,827 ) , filed Oct. 17 , 2005 , all of which are herein
                                   2

incorporated by reference. Reference is also made to related                     SUMMARY OF THE INVENTION
application Ser. No. 14 / 199,855 ( now issued U.S. Pat . No.
8,824,879 ) , filed Mar. 6 , 2014 , related application Ser. No.       A self -contained camera system , according to various
14 / 950,338 ( now issued U.S. Pat . No. 10,257,401), filed 30 aspects of the present invention , includes voice recognition
Nov. 24 , 2015 , related application Ser. No. 14 / 950,370 (now wherein multiple different vocalizations can be recognized
issued U.S. Pat . No. 10,063,761 ) , filed Nov. 24 , 2015 , and and wherein some such recognized vocalizations can be
related application Ser. No. 15 / 188,736 (now issued U.S. associated with the same camera command . Another aspect
Pat . No. 9,936,116 ) filed Jun . 21 , 2016 .                    35
                                                                    of the invention provides for multiple microphones disposed
          BACKGROUND OF THE INVENTION                               on or in the camera system body and be operable so that the
                                                                    user can be anywhere around the camera system and be
   Digitally -based and film -based cameras abound and are heard    aspects
                                                                           by the camera system equally well . According to other
                                                                             of the present invention , the camera system view
extremely flexible and convenient. One use for a camera is
in the taking of self portraits. Typically, the user frames the 40 finder includes gaze tracking ability and in exemplary pre
shot and places the camera in a mode whereby when the               ferred embodiments, gaze tracking is used alone or in
shutter button is depressed; the camera waits a predeter            combination with other aspects of the invention to , for
mined time so that the user may incorporate himself back example, manipulate menus, improve picture taking speed ,
into the shot before the camera actually takes the picture . or improve the auto focus capability of the camera . Other
This is cumbersome and leads to nontrivial problems. Some- 45 aspects of the present invention , such as the addition of
times the predetermined delay time is not long enough . touchpad technology and gesture recognition provide for a
Other times , it maybe too long. For participates who are in improved and more natural user interface to the camera
place and ready to have their picture taken , especially system .
children , waiting with a smile on their face for the picture to   Thus, it is an object of the invention to provide an
be snapped by the camera can seem endless even if it is just 50 improved self -portrait mode for a camera system . It is
a few seconds long . Additionally, many who might like to be further an object of the invention to provide an improved
included into aa shot find themselves not able to be because     user interface for a camera system . It is yet a further object
they have to take the picture and it is simply too much of the invention to make a camera system more user friendly
trouble to set up for a shutter -delayed photograph .            with a more natural and intuitive user interface . It is still a
  Voice recognition techniques are well known in the art 55 further object of the invention to broaden the capabilities of
and have been applied to cameras , see for example, U.S. Pat . the camera system . It is further an object of the invention to
Nos . 4,951,079 , 6,021,278 and 6,101,338 which are herein more easily allow a user to compose a shot to be taken by
incorporated by reference . It is currently possible to have the camera system . It is still further an object of the
fairly large vocabularies of uttered words recognized by invention to improve image quality of pictures taken by the
electronic device . Speech recognition devices can be of a 60 camera system . It is yet another object of the invention to
type whereby they are trained to recognize a specific per- improve the speed of picture taking by the camera system .
son's vocalizations , so called speaker dependent recogni
tion, or can be of a type which recognizes spoken words              BRIEF DESCRIPTION OF THE DRAWINGS
without regard to who speaks them , so called speaker
independent recognition. Prior art voice operated cameras 65 FIG . 1A is an exemplary perspective view of the rear
have several defects remedied or improved upon by various (back ) of the camera system according to various aspects of
aspects of the present invention more fully disclosed below . the present invention .
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                              3                                                                  4
   FIG . 1B is an exemplary perspective view of the front of       voting scheme to determine the most likely recognized
the camera system according to various aspects of the              command. This would obviously improve recognition rates
present invention .                                                and this aspect of the invention is contemplated to have
   FIG . 2 is a functional representation of automatic micro-      utility beyond camera systems including, by way of example
phone selection circuitry that may be uses in various aspects 5 and not limitation, consumer computer devices such as PCs
of the present invention .                                         and laptops; portable electronic devices such as cell phones,
   FIG . 3 shows an exemplary functional block diagram of          PDAs , IPODs , etc .; entertainment devices such as TVs ,
an inventive camera system implementing various aspects of         video recorders, etc; and other areas .
the present invention .                                              To illustrate this embodiment using the example of the
   FIG . 4 shows an exemplary embodiment of a wink 10 camera system having microphones on its frontside and
detector according to various aspects of the present inven- backside given above , each of these microphones is coupled
tion .                                                        to a voice recognition unit . When an utterance is received ,
   FIG . 5A shows an exemplary touchpad overlay with each voice recognition unit recognizes the utterance . The
cutouts according to various aspects of the present inven- camera controller then selects which voice recognition unit's
tion.                                                      15 recognition to accept . This is preferably based on the energy
   FIG . 5B shows an exemplary touchpad overlay with received by each microphone using circuitry similar to FIG .
cutouts according to various aspects of the present inven- 2. Alternatively, the selection of which voice recognition
tion .                                                        unit to use would be a static selection . Additionally, both
   FIG . 5C shows an exemplary touchpad overlay with recognizers' recognition would be considered by the camera
cutouts according to various aspects of the present inven- 20 controller with conflicting results resolved by voting or
tion .                                                        using ancillary information ( such as microphone energy
                                                                   content).
    DESCRIPTION OF PREFERRED EXEMPLARY                                An embodiment using multiple algorithms preferably has
                     EMBODIMENTS                                   one voice recognition algorithm associated with the fron
                                                                25 tside microphone and , a different voice recognition algo
   One aspect of the present invention solves several of the rithm associated with the backside microphone. Preferably,
problems of the prior art voice recognition cameras in that the voice recognition algorithm associated with the frontside
this aspect provides for more than one microphone to be the microphone is adapted to recognize vocalizations uttered
source to the recognition unit. With reference to FIG . 1 , this from afar (owing to this microphone probably being used in
aspect of the present invention provides for at least two 30 self -portraits ), while the voice recognition algorithm asso
microphones to be used , one microphone, 105, placed on the ciated with the backside microphone is optimal for closely
back of the camera and one microphone, 10a , placed on the uttered vocalizations . Selection of which algorithm is to be
front, either of which can receive voice commands. In a first used as the camera controller input is preferably as above .
preferred embodiment of this aspect of the invention , a Alternatively, as above , the selection would be by static
detection device determines which microphone is to be used 35 selection or both applied to the camera controller and a
as the input to the recognition unit based upon the strength voting scheme used to resolve discrepancies. While the
of the voice signal or sound level received by each of the above example contemplates using different voice recogni
microphones. In another preferred embodiment, the outputs tion algorithms, there is no reason this must be so . The same
of the microphones are combined as the input to the voice algorithms could also be used in which case this example
recognition unit . In still another embodiment, the user can 40 functions the same as multiple voice recognition units .
select which microphone is used as the input to the voice             It is further contemplated in another aspect of the inven
recognition unit, for example , by a switch or by selection tion that the voice recognition subsystem be used in con
through a camera menu .                                            junction with the photograph storing hardware and software.
   Automatic microphone selection is preferred and with In a preferred use of this aspect of the invention , the user
reference to FIG . 2 , microphones 10a and 10b are each 45 utters names to be assigned to the photographs during
amplified by amplifiers 20 and 22 respectively. Diode 24 , storage and, later, utter then again for recall of the stored
capacitor 28 and resister 32 form a simple energy detector image . Thus, according to this aspect of the present inven
and filter for microphone 10a . The output of this detector/ tion , a stored photograph can be recalled for display simply
filter is applied to one side of a comparator, 36. Similarly, by uttering the associated name of the photograph. The name
diode 26 , capacitor 30 , and resister 34 form the other energy 50 association is preferably by direct association , that is , the
detector associated with microphone 106. The output of this name stored with the picture. In a second preferred embodi
filter /detector combination is also applied to comparator 36 . ment, the photograph storage media contains a secondary
Thus, the output of this comparator selects which amplified file managed by the camera system and which associates the
microphone output is passed to the voice recognition unit given (i.e. , uttered ) name with the default file name assigned
through multiplexer 38 based on which amplified micro- 55 by the camera system's storage hardware and / or software to
phone output contains the greatest energy .                        the photograph when the photograph is stored on the storage
   In yet another novel embodiment of this aspect of the media. According to the second embodiment, when a pho
invention , the multiple microphones are preferably associ- tograph is to be vocally recalled for viewing, the camera
ated with multiple voice recognition units or, alternatively, system first recognizes the utterance (in this case , the name)
with different voice recognition algorithms well know in the 60 which will be used to identify the picture to be recalled . The
art. The outputs of these multiple voice recognition units or camera system then scans the association file for the name
different voice recognition algorithms are then coupled to which was uttered and recognized. Next , the camera system
the camera controller ( FIG . 3 element 40 ) . The camera determines the default name which was given to the photo
controller preferably selects one of these outputs as being graph during storage and associated with the user -given
the camera controller's voice recognition input. Alterna- 65 name (which was uttered and recognized ) in the association
tively, the camera controller accepts the outputs of all the file . The camera system then recalls and displays the pho
voice recognition units or algorithms and preferably uses a tograph by this associated default name.
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                              5                                                                   6
  In another preferred embodiment, the voice recognition            instruct the camera that this is also a picture taking com
subsystem of the improved camera system recognizes at               mand . These two different utterances of the same word
least some vocalized letters of the alphabet and / or numbers       under different conditions would be stored and recognized as
so that the user may assign names to pictures simply by different utterances . This aspect of the invention contem
spelling the name by vocalizing letters and / or numbers . 5 plates that the words vocalized and / or taught need not be the
Another aspect of the invention provides that stored photo- same word and, as illustrated above , different words would
graphs be categorized on the storage media through use of also be considered different utterances as well .
voice -recognized utterances being used to reference and / or           Since voice recognition is not always 100 percent accu
create categories labels and that, additionally, the recognizer rate, another aspect of the present invention contemplates
subsystem preferably recognize key words for manipulating 10 that the camera system or a remote device, or both , prefer
the stored pictures. For instance , according to this aspect of ably provide an indication that a voice command was or was
the invention , the inventive camera system would recognize not understood . Thus, using the self portrait example above ,
the word “ move ” to mean that a picture is to be moved to or if the user vocalizes the command to take a picture but the
from a specific category. More specifically, “ move, Christ- camera system does not properly recognize the vocalization
mas” would indicate that the currently referenced photo- 15 as being something it understands, the camera system would
graph is to be moved to the Christmas folder. An alternative beep , or light an LED , etc. to indicate it's misrecognition.
example is “ John move new year's ” indicating that the Because of the relatively small number of anticipated cam
picture named john ( either directly named or by association , era commands and allowing for multiple vocalizations to
depending on embodiment) be moved to the folder named command the same action , it is expected that the recognition
“ New Year’s ” . It is further contemplated that the folder 20 rates will be quite high and fairly tolerant of extraneous
names may be used for picture delineation as well . For noise without necessarily resorting to the use of a highly
instance, the picture “ John ” in the Christmas folder is not the directional or closely coupled ( to the user's mouth ) micro
same as the picture “ John ” in the Birthday folder and the phone though the use of such devices is within the scope of
former may be referenced by “ Christmas, John ” while the the invention .
latter is referenced by “ Birthday, John ” .                       25   It is anticipated that the user of the inventive camera
   Another aspect of the present invention provides that the system may be too far away from the camera system for the
voice recognition camera system be capable of associating camera system to recognize and understand the user's vocal
more than one vocal utterance or sound with a single izations . Thus, another aspect of the invention provides that
command. The different utterances are contemplated to be the camera is equipped with a small laser sensor ( FIG . 1
different words, sounds or the same word under demonstra- 30 element 18 ) or other optically sensitive device such that
bly different conditions. As an example, the voice recogni- when a light of a given frequency or intensity or having a
tion camera system of this aspect of the present invention given pulse sequence encoded within it is sensed by the
allows the inventive camera system to understand , for camera system equipped with the optically sensitive device,
example , any of “ shoot” , “ snap ”, " cheese ” , and a whistle to the camera system immediately, or shortly thereafter (to give
indicate to the camera system that a picture is to be taken . 35 the user time to put the light emitting device down or
In another example, perhaps the phrase and word “ watch the otherwise hide it , for example ) takes a picture . The light
birdie” and “ click ” instruct the camera to take the picture . It emitting device is preferably a laser pointer or similar, stored
is further envisioned that the user select command words within the camera housing when not needed so as to not be
from a predetermined list of the camera command words and lost when not in use . Additionally , the light emitting device's
that he then select which words correspond to which com- 40 power source would preferably be recharged by the camera
mand. It is alternatively envisioned that the association of system's power source when so stored . In another embodi
multiple recognizable words to camera commands may also ment, it is also contemplated that the light emitting device
be predetermined or preassigned . In another alternate may be housed in a remotely coupled display which is
embodiment, the inventive camera system allows the user to disclosed below . The light emitting device preferably
teach the camera system which words to recognize and also 45 includes further electronics to regulate the emitted light
inform the camera system as to which recognized words to intensity or to encode a predetermined pulse sequence
associate with which camera commands . There are obvi- ( on -off pulses for example) or otherwise onto the emitted
ously other embodiments for associating recognized vocal- light, all of which techniques are well known in the art,
izations to camera commands and the foregoing embodi- which the camera system of this aspect of the present
ments are simply preferred examples .                              50 invention would receive and recognize by methods well
   In another embodiment of this aspect of the present known in the art.
invention , the user has his uttered commands recognized                Another aspect of the present invention provides for there
under demonstrably different conditions and recognized as being a predetermined delay introduced between recogniz
being different utterances. For instance , according to this ing a voice command and the camera actually implementing
aspect of the invention, the voice operated camera system 55 the command . This aspect of the invention allows time , for
operates so that it understand commands vocalized close to example , for the user to close his mouth or for others in a
the camera ( as if the user is taking the picture in traditional self -portrait shot to settle down quickly before the picture is
fashion with the camera back to his face ) and significantly actually taken . In aa first preferred embodiment of this aspect
farther away (as if the user is taking a self portrait picture of the invention, the delay is implemented unconditionally
and is part of the shot and thus has to vocalize loudly to the 60 for at least the picture taking command . In a second pre
front of the camera .) For this illustration, in a preferred ferred embodiment of this aspect of the invention , the delay
embodiment the user teaches the words to the camera under introduced is dependent upon from where the command
the different conditions anticipated. For example, the user came relative to the camera system . For instance , if the
would teach the camera system by speaking the word “ snap ” camera system recognized the command as coming from the
close to the camera and inform the camera that this is a 65 frontside microphone, delay is used, but if the command
picture taking command and would then stand far from the comes from the backside microphone, then no delay is
camera and say “ snap ” , thus teaching another utterance , and
                        2                                           implemented. The simple energy detection circuitry of FIG .
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2 , described above is easily adapted for this function . In an      is " docked ' to the camera so that both may share power
alternative embodiment, implementation of the delay is               sources or so that the camera's power source may recharge
dependent upon the location of the microphone due to the the display's power source .
orientation of the flip -up or swivel LCD display when the        According to another aspect of the present invention , the
microphone is attached to the LCD display ( FIG . 1 , element 5 electronic view finder (EVF ) typically used on modern
12c) . For example , if the microphone in the display sub digital cameras includes a gaze tracking capability which is
housing is oriented forward relative to the camera body then well known in the art, see for example U.S. Pat. No.
delay is implemented, if the microphone is not oriented 6,758,563 to Levola which is herein incorporated by refer
forward then no delay is introduced . Determining the ori ence . In this aspect of the present invention , menus typically
entation of this microphone relative to the camera body is 10 superimposed
                                                                used for user ininterface  to the
                                                                                   the image      camera
                                                                                              in the EVF. are
                                                                                                           Theelectronically
                                                                                                                gaze tracker
known in the art and would typically be done with switches subsystem
or other sensor devices . Another preferred embodiment of mate location of the viewfinder image at whichortheapproxi
                                                                           is operable  for determining the area
                                                                                                                     user is
this aspect of the invention implements the delay for only           gazing . Thus, by the user looking at different areas of the
certain commands, such as the command to take a picture. 15 ÉVF image, the gaze tracker subsystem informs the camera
In yet another preferred embodiment, whether the delay is            system so that a mouse - like pointer or cursor is moved by
implemented at all is selectable by the user .                       the camera system to the area of the EVF image indicated by
  Another aspect of the present invention provides that the          the gaze tracking device to be the area the user is viewing .
camera LCD display (FIG . 1 , element 14 ) employs touch                  Preferably, the user then speaks a command to indicate his
sensitive technology. This technology is well known in the 20 selection of the item pointed to by the pointer image .
computer art and can be any of resistive , capacitive , RF, etc Alternatively, the user may indicate through other methods
touch technology. This aspect of the present invention that this is his selection, such as staring at a position in the
allows the user to interact with menus , features and func- image for a minimum predetermined time or pressing a
tions displayed on the LCD display directly rather than button , etc. As an example, the EVF displays icons for flash ,
through ancillary buttons or cursor control. For those 25 shutter speed , camera mode , etc ( alone or superimposed on
embodiments of touch technology requiring use of a stylus , the normal viewfinder image . ) By gazing at an icon , a small
it is further contemplated that the camera body house the compositely rendered arrow , cursor, etc. , in the EVF image
stylus for easy access by the user.                                       is caused by the gaze tracker subsystem to move to point to
   According to another aspect of the present invention, it is the icon at which the user is determined to be gazing by the
envisioned that the current dedicated LCD display (FIG . 1 , 30 gaze tracking subsystem , for instance, the camera mode icon
element 14 ) incorporated on a digital camera be made to be as an example here. Preferably, the user then utters a
removable and be extendable from the camera by cable, command which is recognized by the camera system as
   reless , optical , etc. interconnection with the camera . In indicating his desire to select that icon , for example , “ yes ”
one embodiment, this remote LCD would be wire - coupled or " open " .
to receive display information from the digital camera 35 Alternatively, the icon is selected by the user gazing at the
through a pluggable port. In another embodiment , the icon for some predetermined amount of time . When the icon
remote LCD would be wirelessly coupled to the digital is selected by whatever method , the EVF image shows a
camera through any of several technologies well understood drop down menu of available camera modes, for example,
in the art including, by way of example only, Bluetooth , portrait, landscape , fireworks, etc. The user, preferably, then
WIFI ( 802.11 a / b / g / n ), wireless USB , FM , optical , etc. In a 40 utters the proper command word from the list or he may
another embodiment of this aspect of the invention , the optionally gaze down the list at the mode he desires where
remotely coupled display would serve the dual purpose of upon the gaze tracker subsystem directs that the pointer or
being a remote input terminal to the camera system in cursor in the EVF image moves to the word and, preferably
addition to being a dedicated display for the camera system . highlighting it , indicates that this is what the camera system
Preferably, as mentioned earlier, the display is touch sensi- 45 thinks the user want to do . The user, preferably, then utters
tive using any of the touch sensitive technology well under- a command indicating his acceptance or rejection of that
stood in the art such as resistive , capacitive , RF, etc. , mode in this example, such as ' yes ' or ' no '. If the command
methods mentioned above . Touch commands input by the uttered indicates acceptance , the camera system implements
user would be coupled back to the camera system as needed . the command , if the command indicates rejection of the
It is also contemplated that the remote display house the 50 selected command, the camera system preferably moves the
stylus if one is required.                                                pointer to a neighboring command . To leave a menu , the
   In another preferred embodiment, the remotely coupled user may utter ‘ end ' to return to the menu above or home '
display has buttons on it to control the camera system . In to indicate the home menu . Preferably, the user can also
another embodiment, the remotely coupled display contains manipulate the pointer position by uttering commands such
the microphone for receiving the voice commands of the 55 as “ up ” , “ down ” , “ left ” and “ right” to indicate relative
user, digitizing the received voice , analyzing and recogniz- cursor movement. In this way, the user interacts with the
ing the vocalization locally and sending a command to the camera in the most natural of ways, through sight and sound
camera system . In another preferred embodiment, the cooperatively. While the above example used the preferred
remotely coupled display containing the microphone simply combination of gaze and voice recognition, it is contem
digitizes the vocalization received by the microphone and 60 plated that gaze tracking be combined with other input
transmits the digitized vocalization to the camera system for methods such as pushing buttons (like a mouse click ) or
recognition of the vocalization by the camera system itself. touch input disclosed below, or gesture recognition dis
In all embodiments of the wireless remote display, it is closed below, etc. as examples.
preferred that the display contain its own power source ,                    Another application of this aspect of the invention uses
separate from the power source of the camera . It is also 65 gaze tracking to assist the auto focus (AF ) capability of the
contemplated that the display's separate power source may prior art camera . AF generally has too modes , one mode uses
be coupled to the camera's power source when the display the entire image , center weighted, to determine focus,
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another mode allows different areas of the image to have replaces the shutter button functionality and the preferable
greater weight in determining focus. In the second mode, the location for this embodiment is top mounted . Preferably, the
user typically pre - selects the area of the framed image that touchpad is tapped once to focus the camera and /or lock the
he wishes to be over -weighted by the AF capability . This is AF and tapped a second time to trip the shutter. Alterna
cumbersome in that the user must predict where he wants the 5 tively, the inventive camera system simply senses the per
weighting to be ahead of time , thus, this embodiment of this son's touch of the touchpad, auto focuses the camera and / or
aspect of the invention provides that the gaze tracker sub- locks the focus or provides continually focusing while the
system inform the AF capability of the camera system as to person's touch is sensed and wherein a tap of the touchpad
the location of the image that the user is gazing and that the then trips the shutter. Preferably, the camera system enforces
AF capability use this information to weight this area of the 10 a maximum amount of time that the AF may be locked so
image when determining focus. It is contemplated that the that action photographs will not be badly focused . Auto
AF system may only provide for discrete areas of the image matically locking the AF settings for a maximum predeter
to be so weighted and in this case , preferably, the AF mined time after AF activation or continuously focus upon
capability selects the discrete area of the image closest to AF activation is also applicable to the prior art AF button
that being gazed upon .                                          15 activation method described below. While a computer - like
   Another embodiment of this aspect of the invention uses touchpad was used to illustrate the above preferred embodi
the gaze tracker to enable the flash of the camera system . ments of this aspect of the invention , the touch sensitive
Flash is common used to “ fill ” dimly lit photographic scenes input device could be comprised of other structure , for
but sometimes this is not warranted . Other times , it is desired instance, the aforementioned touch - sensitive LCD display.
to have “ fill ” flash because the area of the scene desired is 20 Also , throughout this disclosure , the word " continuous' (and
dark but the rest of the scene is quite bright ( taking a picture its variants, e.g. , continually, etc. ) should be construed to
in shade for example) and the camera does not automatically mean discretely continuous in addition to its analogue-world
provide “ fill ” flash because the overall image is bright definition .
enough . Typically, the amount of “ fill” flash the camera will        In a second preferred embodiment of this aspect of the
give is determined by the camera measuring the brightness 25 invention , the touchpad is placed on the back of the camera
of the scene. The inventive camera system with gaze track- (FIG . 1 element 12b ) and is operable for manipulated the
ing is used to enhance the prior art method of determining cursor and menus shown on the LCD or EVF display. This
the desire and amount of " fill" flash in that the inventive       provides a much more natural and computer - like interface to
camera system gives more weight, in determining the scene          the camera system . It is also contemplated that either
brightness, to the area of the scene indicated by the gaze 30 embodiment of this aspect of the invention may be coupled
tracker as being gazed upon .                                       with voice recognition so that the user may interact with the
    Another aspect of the present invention adds touchpad camera by touchpad manipulation in combination with voice
technology to the prior art camera system . Use of the word commands. Additionally, combined with gaze tracking, the
“ touchpad ' throughout this disclosure should be construed to user can interact with the camera through touch , voice , and
mean either the touchpad itself or the touchpad with any or 35 gaze (i.e. , sight) to manipulate menus, control the camera
all of a controller, software, associated touchpad electronics, system , compose the shot , focus, zoom , enable /disable flash ,
etc. This touchpad technology is similar to the touchpad select macro or panoramic camera modes , etc.
mouse pad used on laptop computers which is also well                 One of the most annoying properties of the modern digital
understood in the computer art. In a first preferred embodi- camera is the shutter delay that occurs when a picture is
ment, the EVF ( or LCD display ) displays the menus as 40 taken . That is , the delay between the user depressing the
above and the user moves the cursor or mouse pointer shutter button and the camera actually taking the picture.
around this image by use of his finger on the touchpad. This This delay can be as much as one second on some modern
operation is virtually identical to that of the mouse in laptop digital cameras and is typically due to the camera focusing
computers and is well understood in the art. Preferably, the and then taking the picture after the shutter button is
touch pad is mounted on the top of the camera at the location 45 depressed. One solution to this implemented by prior art
typically used for the shutter button (FIG . 1 element 12a ) . It cameras is for the camera to sense when the shutter button
is also preferred that the touchpad software implement is depressed half way, then focus and lock the AF settings of
‘ tapping ' recognition, also well known in the art, so that the the camera while the shutter button remains half way
user may operate the shutter button, make a selection , etc. depressed , so that when the user depresses the shutter button
simply by tapping the touchpad with his index finger, much 50 the rest of the way , the picture is taken almost instanta
the same way modern laptop driver software recognizes neously. This solution is more often than not misused or
tapping of the touchpad as a click of the mouse button . It is misunderstood by novice users or those who do not use their
also currently preferred that tapping recognition is used to camera regularly and can also result in blurred action
make selections on the menus shown in the EVF, LCD photographs. Thus, one aspect of the present invention
display, or otherwise .                                          55 provides that the viewfinder be coupled to a unit for detect
    Another application of this aspect of the invention uses ing when the user's eye is viewing through the viewfinder .
the touchpad to inform the camera system to zoom the lens When viewfinder use is detected, the inventive camera
simply by the user stroking his finger from front to back ( for system preferably enables the auto focus system to continu
example, to zoom) or back to front over the touchpad ( for ally focus thus ensuring that the shot is focused when the
example, to wide angle ). For this aspect of the present 60 camera system is commanded to take a picture. Preferably,
invention , a preferred embodiment has the touchpad on the the gaze tracker is used for this determination though this
barrel of the lens. This is a most natural way to control zoom     aspect of the invention may be implemented without gaze
since the movement of the finger is a gesture with the user        tracking.
“ pulling ’ the object to be photographed closer ( front to back In a preferred embodiment of this aspect of the invention
stroke means zooming ) or “ pushing the object to be pho- 65 without gaze tracking, the viewfinder is equipped with a
tographed away (back to front stroke means wide angle) . small light emitting device and a light detection device both
According to another aspect of the invention, the touchpad         well known in the art. With reference to FIG . 4 , the light
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emitting device, 70 , emits a frequency or frequencies of light   tion provides for simpler photo offloading from the modern
some of which is reflected from the eyeball when a user is        digital camera when a set of predetermined conditions , such
viewing through the viewfinder, 74. The light detection as day, time , number of pictures to offload , etc. , are met . The
device, 72 , is operable for sensing this reflected light and an camera system preferably includes the ability for the user to
amplifier ( not shown) coupled to device 72 , amplifies the 5 indicate to the camera which pictures to offload so that the
                                               9

signal from the light detection device, 72. Obviously, if there camera offloads only those pictures that are so indicated by
is no one viewing through the viewfinder, then there will be the user. In a first preferred embodiment of this aspect of the
no reflected light from the eyeball and the amplifier output invention , the camera system is internally equipped with
will be near ground, however, when a person peers into the wireless interface technology by a wireless interface to the
viewfinder, light will be reflected from his eyeball and the 10 camera controller for interfacing directly to a photo printer
output of the amplifier will be significantly larger. Thus, this or other photo rendering device . Currently preferred is WIFI
system and method provides a way for detecting the use of (i.e. , IEEE 802.11 a /b / g / n ) with alternatives being Bluetooth ,
the viewfinder by the user without providing gaze tracking or wireless USB all of which are known in the art. By
ability. It is contemplated that this system and method be connecting via WIFI , the inventive camera system can
used with both EVF and optical (i.e. , traditional) viewfinders 15 preferably access other devices on the LAN associated with
and that viewport, 76 , may be an LCD , optical lens , etc. the WIFI for the storing of pictures onto a computer,
Shroud 78 typically included on modern viewfinders helps network drive, etc. In additional, preferably, devices on the
to improve viewfinder use detection by cutting down on network can access the camera system and the pictures
extraneous light reaching device 72 when the user is viewing within it directly and also access camera settings, upload
through the viewfinder. It should be noted that the location 20 new software or updates to the camera system , etc. Since one
of elements 70 and 72 in FIG . 4 is exemplary only and other of the big complaints with wireless technology for small
placements of these elements are within the scope of this devices is the often - obtrusive antenna, it is greatly preferred
aspect of the invention . While the above embodiment of this for this aspect of the invention that the wireless hardware
aspect of the invention relied on eyeball reflectivity, in an including antenna be completely contained within the body
alternate embodiment it is contemplated that the viewfinder 25 of the camera system .
use detect can be made with a light source and light detector    In a second preferred embodiment of this aspect of the
juxtaposed wherein the eye interrupts the light between the invention , the inventive camera system is equipped with
two thus indicating   viewfinder use , or that the shroud be software and hardware coupled to the camera controller
fitted with aa touch sensor around its outer ring that would allowing independent communication with a computer net
sense the person's contact with the shroud when the view- 30 work for the primary purpose of communicating its pictures
finder is in use . Additionally , it is contemplated that embodi- over the internet. Currently preferred is WIFI which is
ments of this aspect of the invention may employ filters or typically connected by LAN , routers, etc. to the internet and
other structures to help minimize false viewfinder use detec- which usually allows WIFI-equipped devices to indepen
tion due to sunlight or other light sources shining on detector dently connect to the internet ( FIG . 3 , element 46c ) . Alter
72 when a user is not viewing through the viewfinder.            35 natively, the invention contemplates the use of wired LAN ,
   Another aspect of the present invention is to employ a cellular data networks, etc. as the interconnection technol
wink -detector as part of the viewfinder of the camera . ogy ( FIG . 3 , element 46b ) used by the inventive camera
Preferably, the gaze tracker is modified for this purpose. system . The inventive camera system is further preferably
Alternatively, the previously disclosed viewfinder use detec- equipped with a microbrowser that runs on the inventive
tor may also be employed . All that is required is to addi- 40 camera system's camera controller which is preferably a
tionally detect the abrupt change in reflected light from the microprocessor. It is contemplated that some embodiments
eye that would be caused by the eyelid wink . The wink- may not be required a microbrowser ( see enhancement
detector is contemplated to be used for shutter trip and / or AF below ) . Design and operation of microbrowser -equipped
activation or lock among other things. It is contemplated that electronic devices for use with the internet is well known in
it be used in the aforementioned application wherein the 45 the art and need not be discussed further. The camera system
menus of the camera are displayed on the EVF . In this case , LCD display serves the purpose of displaying internet
the wink detector preferably acts as a user selection detector webpages when the user is navigating the internet in addi
device in that the user may select an item pointed to by the tion to its function as the camera display. So equipped , the
gaze tracker pointer or that is otherwise highlighted by the inventive camera system can now independently upload its
gaze tracker simply by winking. It is contemplated that the 50 pictures to any of the internet - based photo printing services,
detected wink would preferably function in the camera such as those provided by Walmart.com , Walgreens.com ,
system similarly to a left mouse click on a computer system Kodak.com , etc., without the need for first storing the photos
when dealing with menus and icons . In this way , the camera to a computer system and then connecting the computer
system with wink detector of this aspect of the present system to the internet to upload the pictures. Use of these
invention becomes a optical gesture - recognizing camera 55 internet services for printing photos is preferred by many
wherein the gesture is optically received and electronically over use of a home photo printer because of the conve
recognized (gesture recognition is also contemplated to be nience, ease , availability, quality and lower per- picture print
used in the touchpad software as described above . )                ing costs . Providing the novel combination of a high photo
   In an enhancement of this aspect of the invention , the quality camera system with direct access to the internet
wink detector subsystem discriminates between aa wink and 60 according to this aspect of the present invention will further
a blink by preferably determining the amount of time taken improve the utility of the camera system and these services.
by the wink or blink . If the amount of time taken for the             In an enhancement to the above - disclosed embodiments
gesture ( blinking or winking) is below a certain threshold , of this aspect of the invention, the inventive camera system
the gesture is considered a wink and disregarded.                   is operable for being instructed to automatically initiate a
   Once a user of a camera has taken pictures, typically he 65 connection to the internet, LAN , printer, etc. whenever the
                                                                                                    9


will wish to print or otherwise develop the pictures for predetermined conditions are met and it is in range of the
viewing , framing, etc. Another aspect of the present inven- network connection, (e.g. , WIFI , Bluetooth , wireless USB ,
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wired LAN , etc ) . Once the transmittal of the pictures is cell phone controller programming would also include the
complete, the inventive camera system preferably terminates step of determining if the recognized vocalization was for
the connection . Additionally, the inventive camera system is camera control, or for dialing . Such determination would
preferably operable so that the automatic connection is made preferably be by reserving certain recognized keywords to
only at certain times of the day or weekends, etc., so as to 5 be associated with camera functions ( e.g. , snap , shoot , etc ).
confine picture transmission to periods of low network usage Alternatively, the cell phone may be explicitly placed into
or periods of cheaper network access , etc. Also , it is cur- camera mode so that it is known ahead of time that recog
rently preferred that the user be queried to allow the auto- nized utterances are for camera control.
matic connection though this is obviously not required and             Cell phones being so light and without much inertia are
the connection can be made completely autonomously. 10 hard to steady and the fact that the user must push a button
Thus, in the first embodiment above , the inventive camera on something so light makes it even harder to keep steady
system automatically sends its pictures to a printer or other particularly given the small size of the shutter button on
device on the LAN for printing or for remotely storing the some cell phones . This aspect of the present invention would
pictures in the inventive camera system , whenever the make picture taking on cell phones simpler and more fool
inventive camera system is in range of the LAN network 15 proof.
connection and connection can be made . In the second                  Another aspect of the invention provides that the prior art
embodiment above , the inventive camera system automati- voice recognition unit of the cell phone be adapted to
cally connects to the internet preferably via WIFI , although recognize at least some email addresses when spoken .
cellular network , etc. connection is also contemplated, when Another aspect of this inventive adaptation is to adapt the
it has a predetermined number of pictures and can so 20 cell phone voice recognizer to identify the letters of the
connect, and will send the pictures to virtually any internet alphabet along with certain key words, for example , " space" ,
destination without user intervention. For example, the " underscore " , " question mark ” , etc and numbers so that
inventive camera system can be instructed to automatically pictures may be named when stored by spelling , for
send the pictures to an email account, internet picture example . This aspect of the invention is contemplated to
hosting site (FIG . 3 , element 46d ), web - based photo printing 25 serve the dual purpose of being usable for text messaging or
site , the user's internet - connected home computer (when he chat text input on the cell phone in addition to picture
is on vacation , for instance ), etc. In this way, valuable labeling
pictures are immediately backed- up and the need for reli-             Additionally, other aspects of the present invention taught
ance on expensive camera storage media like flash cards, for the improved camera system are applicable to the
SD , etc. is greatly reduced .
   2                                                              30 improved cell phone herein disclosed particularly the aspect
   Many prior art digital cameras can now record images of the present invention associating multiple different utter
continuously at 30 frames per second (i.e. , take movies ) ances to a single command . The aspect of the invention
along with sound . Thus, a prior art camera having an internet allowing for automatic connection to a LAN or the internet
connection capability as herein taught combined with well is also contemplated for use with cell phone cameras . This
known and straightforward editing methods enables inven- 35 aspect of the invention ameliorates the prior art storage
tive on - camera movie composition. According to this aspectspace limitation which severely hampers the utility of the
of the invention , the inventive camera records a series of              cell phone camera . Cellular service providers typically
images , ( e.g. , a movie ) and then the user downloads an MP3           charge a fee for internet access or emailing and so an
file ( i.e. , a sound file ) from aa network ( e.g. , internet) source   automatic feature to connect to the net or send email for the
to be associated with the movie taken so that when the movie 40 purposes of transmitting pictures can improve revenue gen
is played , the MP3 file also plays . Alternatively, the MP3 eration for these companies.
content is embedded in the movie , either as is , or re-          The embodiments herein disclosed for the various aspects
encoded . Additionally, the user may download other movie of the present invention are exemplary and are meant to
material or still images via the network connection for illustrate the currently preferred embodiments of the various
insertion in the camera - recorded movie or for the replace- 45 aspects of the invention . The disclosed embodiments are not
ment of certain individual camera - taken " frames” in the      meant to be exhaustive or to limit application of the various
movie .                                                         aspects of the invention to those embodiments so disclosed .
   FIG . 3 shows an exemplary functional block diagram of There are other embodiments of the various aspects of the
the improved , camera system according to various aspects of present invention that are within the scope of the invention .
the present invention . The figure shows one possible exem- 50 Additionally , not all aspects of the invention need to be
plary embodiment contemplated and the figure should not be practiced together, it is contemplated that subsets of the
used to limit the teaching of this disclosure to a certain disclosed aspects of the present invention may be practiced
implementation, embodiment, combination of aspects of the in an embodiment and still be within the scope of the present
present invention, or otherwise.                                invention . For instance, an embodiment combining a touch
   Another aspect of the present invention provides that prior 55 sensitive shutter button with a viewfinder use detector so
art features of the cell phone ( FIG . 3 , element 46a ) are that focusing is only accomplished when both the shutter
combined so that voice control of the camera in the cell button is touched and viewfinder use is detected . Another
phone can be accomplished . Many modern cell phones embodiment contemplated is to use the viewfinder use
incorporating cams also provide voice recognition -driven detector to automatically turn the EVF on and the LCD
dialing. Therefore, the functionality necessary for recogniz- 60 display off when viewfinder use is detected instead of the
ing vocalizations within a cellular communication device        prior art method of pressing a button which typically toggles
exists in the art but has not been applied to the cell phone    which of the two is on and which is off. Still another
camera. This aspect of the present invention couples the        contemplated embodiment applies the touch gesture recog
voice recognition unit of a cell phone to the camera control    nition typically used with the computer- like touchpad tech
unit of the cell phone either directly or via the cell phone 65 nology to a touch sensitive display, such as the touch
controller, thus enabling voice control of the cell phone                sensitive LCD of the camera and other devices herein
camera. Preferably, when recognizing a vocalization , the                disclosed that utilize an LCD display. Combining various
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aspects of the invention herein disclosed, such as voice          and FIG . 5 ( c) ) , and touchpad software , well understood in
recognition , touch input, gaze tracking, etc for camera the art, defines what meaning is ascribed to these touched
control provides much more natural and human interfacing locations and gestures and what degree of firmness of touch
to the camera system for the control of camera menus , 5 is required to actually register the touch . Tapping and
camera features, camera options , camera settings, com gesture ( i.e. , a finger stroke) recognition would further
manding picture taking , enabling flash , etc.                 extend this new input - gathering device capability but is not
   Another alternative embodiment for the disclosed aspects required . This new input - gather device can be used to
of the present invention is to use the disclosed touchpad with
or without supporting input gesture recognition with cellular replace  all or some of the buttons or joystick - like controllers
phones , other cellular devices, Apple Computer Inc.'s Ipod 10 mp3 players, ,PDAs
                                                               on cell phones   portable electronic devices, cordless phones,
MP3 player, etc., with the computer - like touchpad replacing terminals, computers,, computer
                                                                                       cameras, calculators , point of sales
                                                                                                 monitors , game controllers,
some or all of the buttons on devices. Touch input with or radio , stereos , TV, DVD players        , set - top boxes , remote
without touch - based gesture recognition would be an ideal
replacement for Apple's Ipod click wheel interface. The controls, automobile interfaces , appliances, household
touch pad would preferably be made round (alternatively, it is switches light and appliance switches , etc. Additionally, use
                                                                   of an overlay with cutouts is not absolutely necessary to
would be rectangular with the housing of the device pro practicing           the above teachings. Similar functionality can be
viding a round aperture to the touchpad device) and simply
by skimming a finger over or touching the touchpad at the accomplished by simply embedding, embossing, or surface
appropriate places on the touch pad , the Ipod would be applying area - delineating markings, preferably with labels ,
commanded to perform the proper function such as raising 20 to the touchpad itself and allowing software to accept only
or lowering the volume , fast forwarding, slowing down those touches that occur in these defined areas and to give
replay, changing the selection, etc. This type of round the labeled meaning to these areas when so touched . How
touchpad is also contemplated for use on cell phones to ever, use of an overla with cutouts is currently greatly
simulate the old - fashioned rotary dial action or placement of preferred because of the tactile delineation of areas it pro
digits . The user touches the pad at the appropriate place 25 vides .
around the circumference of the touch pad to select digits           Returning to the Ipod example, because of the large
and enter them and then makes a dialing motion ( stroking a memory          currently available with the Ipod , it is also con
thumb or finger around the circumference of the touchpad )
to begin the call or touches the center of the pad to begin the    templated  that a digital camera , similar to cell phone's
call . Round pattern dialing is easily done with the thumb 30 camera be embedded in the Ipod and coupled to the Ipod
when the phone is being single -handedly held . With refer- controller and this inventive Ipod be operable for taking
ence to FIG . 5 , in another embodiment, the touchpad, 94 , is pictures and storing the pictures in the Ipod's memory .
further contemplated to be fitted with aa solid overlay having Another alternate embodiment for the disclosed aspects of
2 or more cutouts over its surface ( the solid overlay with the present invention is to use the viewfinder use detector,
cutouts is preferably part of the cell phone or other device's 35 gaze  tracker, and /or the disclosed internet connectability,
housing and alternatively , the solid overlay, 90 , with cutouts ,
92 , is applied to the touchpad surface separately ) that only herein described , in a video camera . As with the camera
allows for certain areas of the touchpad to actually be system disclosure, the viewfinder use detector can be used to
touched to assist the user in assuring that only certain enable or disable various aspects of the video camera
well   -defined areas of the touchpad are touched. This greatly 40 system, such as turning the LCD display off when view
reduces the software detection requirements for the touch finder use is detected . Gaze tracking is contemplated to be
pad interface software since now the software need only used to assist the video camera focusing or used to guide and
detect when aa certain defined area is touched and assigns a
specific function to that touched area and reports that to the select menu items . Internet connectability is contemplated
device controller. That is , the cutout areas would essentially 45 be used to download sound or image files for editing or for
be soft keys but without there being a plurality of different uploading video recorded for editing or remote storage of
keys, instead , simply different soft key locations on the same the video images .
touchpad but delineated physically so that certain other areas       It is further contemplated that certain aspects of the
of the touchpad simply cannot be touched . It is further
contemplated that, in many instances, the cutouts can be 50 presently disclosed invention have application beyond those
made large enough so that finger - stroke gestures can still be disclosed herein . For instance , various voice recognition
made and discerned . Because of the nature of modern aspects of the present invention , such as use of a plurality of
mouse - like touchpad technology and how it works, the microphones or multiple different vocal utterances associ
firmness of a persons touch that actually registers as a touch ated with the same command or delayed implementation of
can also be provided for by software and this feature is also 55 a command which corresponds to a recognized vocalization ,
contemplated for use herein . Additionally, the touchpad , are contemplated to have utility for many of the devices
covered by a solid overlay with cutouts , would be recessed herein referenced and are anticipated to be incorporated
below the upper surface of the overlay (by as much as therein . As an example, automatically connecting to the
desired) helping to minimize false touches . This would be a internet when a set of predetermined rules or conditions
much cheaper input gathering structure and would replace 60 ( such as time , date , status of equipment, etc ) is met would
some or all of the many buttons and joystick - like controller be useful for the download /upload of information from /to
of the cell phone, Ipod, camera, etc. It is contemplated that the internet, like music , video , etc. for processing, storage ,
a few generic touchpad shapes and sizes could be manufac- transmission to another party , etc. Those skilled in the art
tured and serve a host of input functions, replacing literally will undoubtedly see various combinations and alternative
tons of buttons and switches, since now the solid overlay 65 embodiments of the various aspects of the present invention
with cutouts on top of the touchpad defines the areas that can herein taught but which will still be within the spirit and
be touched or gestured ( see exemplary drawings of FIG . 5 (b ) scope of the invention.
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  What is claimed is :                                                    5. A camera system comprising :
  1. A camera system comprising:                                          (a) a lens;
  ( a ) a lens;                                                           (b ) a cellular interface;
  ( b ) a cellular interface;                                             ( c ) an image sensor that is coupled to the lens and
  (c ) an image sensor that is coupled to the lens and 5                       operable to capture pictures;
       operable to capture pictures;                                      ( d) a non - volatile local memory that is coupled to the
  (d) a non - volatile local memory that is coupled to the                     image sensor and operable to store pictures captured by
      image sensor and operable to store pictures captured by                  the image sensor;
                                                                          ( e) a touch sensitive display ;
      the image sensor ;                                           10     ( f) a controller coupled to the cellular interface, the
  (e ) a touch sensitive display;                                              non -volatile local memory and the touch sensitive
  ( f) a controller coupled to the cellular interface, the                     display, and configured to :
      non - volatile local memory and the touch sensitive                      (i ) display on the touch sensitive display a user -select
      display, and configured to :                                             able input that instructs the camera system to confine
      (i ) receive, via the touch sensitive display, a user 15                    automatic picture upload to periods without poten
          selection of an upload option that instructs the cam                    tially increased cellular network access fees;
          era system to confine automatic picture upload to                  ( ii ) automatically connect to a picture hosting service
          periods without potentially increased cellular net                   that is internet -based and enable an upload to the
                                                                               picture hosting service, over the internet and via the
          work access fees;                                                    cellular interface, of a group of image sensor -cap
      (ii ) automatically connect to a picture hosting service 20              tured pictures stored in the local memory, during any
          that is internet -based and enable an upload to the                  period detected by the controller in which all the
          picture hosting service, over the internet and via the               following conditions are met :
          cellular interface, of a group of image sensor- cap                  ( 1 ) the controller has received from the display a
          tured pictures stored in the local memory, during any                     selection of the user- selectable input that instructs
          period detected by the controller in which all three of 25                the camera system to confine automatic picture
          the following conditions are met :                                        uploads to periods without potentially increased
                                                                                  cellular network access fees;
          ( 1 ) the upload is allowed because the system is                    ( 2 ) the controller has confirmed that the camera
               within one of the periods without potentially                       system is within a period without potentially
               increased cellular network access fees, as deter                     increased cellular network access fees, as deter
               mined using data from the cellular interface , 30                    mined using data from the cellular interface ;
          ( 2 ) the system is connected to the internet via the                ( 3 ) the system has aa connection to the internet via the
               cellular interface; and                                              cellular interface ; and
          ( 3 ) at least one image sensor-captured picture stored     ( 4 ) at least one image sensor -captured picture stored
               in the local memory has been designated through 35          in the local memory has been designated through
               the touch sensitive display as part of the group of         the touch sensitive display as part of the group of
               pictures to be uploaded to the picture hosting              image sensor-captured pictures to be uploaded to
          service .
                                                                          the  picture hosting service .
                                                                 6. The    camera    system of claim 5 , wherein the picture
   2. The camera system of claim 1 , wherein the picture hosting service includes printing services .
hosting service includes printing services .                 40 7. The camera system of claim 5 , wherein the controller
   3. The camera system of claim 1 , wherein the controller is configured to automatically connect to the picture hosting
is configured to automatically connect to the picture hosting service and enable the upload at any time the conditions are
service and enable the upload immediately at any time the met .
three conditions are met .                                                8. The camera system of claim 5 , wherein the controller
  4. The camera system of claim 1 , wherein the controller 45 is configured to automatically independently connect to the
is configured to automatically independently connect to the             picture hosting service and enable the upload .
picture hosting service and enable the upload .
